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 3 Los Angeles, CA 90071
   Tel: 213-335-7737
 4

 5 Attorneys for Erika Girardi

 6

 7                            UNITED STATES BANKRUPTCY COURT

 8                CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

 9

10 In re                                      ))   Case No. 2:20-bk-21020-BR
                                              ))
11                                            ))   Chapter 7
     THOMAS VINCENT GIRARDI,                  ))
12                                            ))   NOTICE OF MOTION AND MOTION OF
                                              ))   DINSMORE & SHOHL LLP TO
13                       Debtor.              ))   WITHDRAW AS COUNSEL FOR ERIKA
                                              ))   GIRARDI; DECLARATION OF PETER J.
14                                            ))   MASTAN IN SUPPORT THEREOF
                                              ))
15                                            ))   [LBR 2091-1(a) and 9013-1(p)(4)]
                                              ))
16                                            ))
                                              ))   Date: [No Hearing Required]
17                                            ))   Time: [Not Applicable]
                                              ))   Ctrm: 1668
18                                            ))          255 E. Temple St.
                                              ))          Los Angeles, CA 90012
19                                            ))   Judge: Hon. Barry Russell
                                              ))
20

21          TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY

22 JUDGE; ERIKA GIRARDI; JASON M. RUND, CHAPTER 7 TRUSTEE; COUNSEL AND

23 SPECIAL COUNSEL FOR THE CHAPTER 7 TRUSTEE; THE DEBTOR; THE OFFICE OF

24 THE UNITED STATES TRUSTEE; AND ALL OTHER PARTIES ENTITLED TO NOTICE:

25          PLEASE TAKE NOTICE that on June 15, 2021 Dinsmore & Shohl LLP (“Dinsmore”)

26 filed its Notice of Motion and Motion Of Dinsmore & Shohl LLP To Withdraw As Counsel For Erika

27 Girardi (the “Motion”).

28   ///


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 1              PLEASE TAKE FURTHER NOTICE that Dinsmore requests the Court to grant the

 2   Motion without a hearing as provided in Local Bankruptcy Rules (“LBR”) 2091-1(a) and 9013-

 3   1(p)(4).

 4              The Motion is based upon the legal and factual grounds set forth in the Motion, attached

 5   hereto.

 6              PLEASE TAKE FURTHER NOTICE that Dinsmore will promptly lodge an Order

 7   that the Court may use to rule on the Motion, as the Court may rule on the Motion without a

 8   hearing and without an opportunity for any party to file a request for a hearing.

 9

10   Dated: June 15, 2021                                    Respectfully submitted,

11                                                           DINSMORE & SHOHL LLP

12

13                                                           By:   /s/ Peter J. Mastan
                                                                      Peter J. Mastan
14                                                           Counsel for Erika Girardi

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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2                                                       I.

 3                      STATEMENT OF RELEVANT FACTS AND DISCUSSION

 4            On December 18, 2020, an involuntary petition under chapter 7 of title 11 of the United

 5   States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), was filed against Thomas Vincent

 6   Girardi (the “Debtor”), commencing Case No. 2:20-bk-21020-BR (the “Case”). On January 6, 2021,

 7   Jason M. Rund (the “Trustee”) was appointed as the interim trustee. ECF No. 40. On January 13,

 8   2021, the Clerk of the Court entered an Order for Relief (ECF No. 64) against the Debtor, and the

 9   Trustee was appointed and accepted his appointment in the Case (ECF No. 66).

10            Dinsmore & Shohl LLP (“Dinsmore” or the “Firm”) appeared as bankruptcy counsel to

11   Erika Girardi in the Case. As set forth in the attached declaration of Peter J. Mastan (the “Mastan

12   Declaration”), the relationship of trust and confidence that is essential to a properly functioning

13   attorney-client relationship has broken down and, in the good faith assessment of counsel, the

14   relationship is irreparable. Withdrawal is appropriate under such circumstances. If the Court

15   concludes that additional information regarding the nature of the breakdown is necessary to decide

16   the Motion, counsel requests the opportunity to present such evidence in camera to protect the

17   confidential nature of the relationship between counsel and its client. See, e.g., Manfredi & Levine v.

18   Superior Court (1998) 66 Cal. App. 4th 1128, 1133 (general description of situation sufficient to

19   support withdrawal where there is no reason to doubt counsel’s good faith; in camera hearing may be

20   held to obtain further non-privileged facts supporting the motion where necessary); Aceves v.

21   Superior Court, (1996) 51 Cal. App. 4th 584.

22            In moving to withdraw, there is no foreseeable prejudice, and the Firm’s withdrawal will not

23   delay or prejudice these proceedings. No later than June 14, 2021, Ms. Girardi learned of the Firm’s

24   withdrawal and the Firm’s willingness to facilitate the transfer of Ms. Girardi’s client file to new

25   counsel. Concurrently with the filing of this Motion, on June 15, 2021, Dinsmore again encouraged

26   Ms. Girardi to locate replacement counsel.

27    ///

28    ///

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 1            The Firm is ready, willing, and able to cooperate in a smooth transaction of the bankruptcy

 2   file and will make the client file available to Ms. Girardi or Ms. Girardi’s replacement counsel

 3   promptly upon the granting of this Motion.

 4            Dinsmore’s withdrawal will not delay or prejudice these proceedings. The following are the

 5   upcoming deadlines in the Case affecting Ms. Girardi:

 6                    June 18, 2021 @ 10:00 a.m. – continued Section 341(a) meeting of creditors

 7                    April 20, 2022 – deadline for filing complaints under Sections 523 (exceptions to

 8   discharge) and 727 (denial of discharge).

 9             There are no other deadlines pertinent to Ms. Girardi scheduled in the Case at this time.

10

11                                                  II.

12         CAUSE EXISTS FOR AN ORDER GRANTING LEAVE FOR THE FIRM TO

13                 WITHDRAW AS COUNSEL OF RECORD FOR MS. GIRARDI

14            Local Bankruptcy Rule 9013-1(p) provides:

15                    The following motions may be determined without a hearing after notice

16                    provided in the corresponding LBR cited [emphasis added].

17                                    (4) Motion to Withdraw as Counsel [LBR 2091-1(a)]

18   Local Bankruptcy Rule 2091-1(a)(1) provides that, in the absence of a substitution of counsel, an

19   attorney seeking to withdraw from representation of an individual in a bankruptcy case must file a

20   motion requesting authorization to withdraw.

21            A federal court has the authority to permit an attorney to withdraw from an action at any

22   time for good and sufficient cause, and upon reasonable notice. In re Wynn, 889 F.2d 644, 646 (5th

23   Cir. 1989) (“An attorney may withdraw from representation only upon leave of the court and a

24   showing of good cause and reasonable notice to the client.”); see also Lovvorn v. Johnston, 118 F.2d

25   704, 706 (9th Cir. 1941).

26            Rule 1.16 [formerly Rule 3-700] of the California Rules of Professional Conduct sets forth

27   when an attorney shall or may withdraw from representing a client. Rule 1.16(b) states that “a lawyer

28   may withdraw from representing a client” in several circumstances, including:

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 1                    (4)   the client by other conduct renders it unreasonably difficult for the

 2            lawyer to carry out the representation effectively;

 3            ...

 4                    (10) the lawyer believes in good faith, in a proceeding pending before a

 5            tribunal, that the tribunal will find the existence of other good cause for

 6            withdrawal.

 7            This Motion is brought on the grounds that the relationship of trust and confidence so

 8   necessary to the effective and proper functioning of an attorney-client relationship has ceased to exist

 9   and, in the good faith judgment of counsel, has been permanently and irreparably damaged. As a

10   result, the Firm has determined that it can no longer effectively represent Ms. Girardi and has sought

11   permission to be relieved.

12            The breakdown in the attorney-client relationship has long been recognized as a ground for

13   authorizing the attorney to withdraw. See, e.g. Rus, Miliband & Smith v. Conkle & Olesten (2003)

14   113 Cal. App. 4th 656, 673 (“The law can afford to take a relatively permissive attitude toward

15   withdrawals qua withdrawals. If attorney and client cannot agree, how can they litigate together?

16   There is no need to unequally yoke a union when one of the parties clearly wants out.”).

17             Due to the breakdown of the relationship between the Firm and Ms. Girardi set forth in the

18   attached Mastan Declaration, cause exists for this Court to enter an Order granting leave for the Firm

19   to withdraw as counsel of record in the Case.

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 1                                                  III.

 2                                          CONCLUSION

 3            Based upon the foregoing, the Firm respectfully requests that this Court enter an Order

 4   granting the Firm leave to withdraw as counsel for Ms. Girardi in the Case, and for such other relief

 5   as this Court deems just and proper.

 6   Dated: June 15, 2021                                  DINSMORE & SHOHL LLP

 7
                                                           By:   /s/ Peter J. Mastan
 8                                                                   Peter J. Mastan
                                                           Counsel for Erika Girardi
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 1                                  DECLARATION OF PETER J. MASTAN

 2               I, Peter J. Mastan, declare as follows:

 3           1.         I am a partner in Dinsmore & Shohl LLP (“Dinsmore” or the “Firm”), bankruptcy

 4   counsel of record to Erika Girardi in the above-captioned bankruptcy case. I have personal

 5   knowledge of the facts set forth herein and, if called as a witness, could and would testify

 6   competently thereto. Capitalized terms not otherwise defined herein have the same meanings

 7   ascribed to them in the Motion to which this Declaration is attached.

 8           2.         There has been a fundamental and material breakdown in the relationship between

 9   the Firm and Ms. Girardi. The relationship of trust and confidence necessary to the proper

10   functioning of an attorney-client relationship has ceased to exist. In my good faith judgment, the

11   attorney-client relationship has been irreparably damaged and it is no longer possible to carry on an

12   attorney-client relationship with the necessary degree of trust and confidence which is foundational to

13   that relationship. While I do not believe the precise nature of the breakdown can be described without

14   potentially violating the attorney-client privilege or breaching client confidentiality, I am prepared to

15   respond to any questions the court may have in camera, if necessary, subject to the limits imposed by

16   case law.

17           3.         No later than June 14, 2021, the Firm notified Ms. Girardi of its withdrawal and

18   willingness to facilitate transfer of Ms. Girardi’s client file to new counsel. Concurrently with the

19   filing of the Motion on June 15, 2021, I notified Ms. Girardi that Dinsmore had filed it Motion to

20   withdraw in the Case and encouraged Ms. Girardi to locate new counsel, alerting her to the potential

21   consequences of not timely securing replacement counsel. As of the date of this Declaration, Ms.

22   Girardi has not identified new counsel to the Firm.

23           4.         Dinsmore’s withdrawal will not delay or prejudice these proceedings. The following

24   are the upcoming deadlines affecting Ms. Girardi in the Case:

25                      June 18, 2021 @ 10:00 a.m. – continued Section 341(a) meeting of creditors

26                      April 20, 2022 – deadline for filing complaints under Sections 523 (exceptions to

27   discharge) and 727 (denial of discharge).

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 1           5.       There are no other deadlines pertinent to Ms. Girardi scheduled in the Case at this

 2   time.

 3           6.       I, therefore, believe that the Firm’s withdrawal at this time will not unreasonably

 4   prejudice Ms. Girardi.

 5

 6           I declare under penalty of perjury under the laws of the United States that the foregoing is true

 7   and correct.

 8
     Dated: June 15, 2021                                    /s/ Peter J. Mastan
 9                                                              Peter J. Mastan

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                                 PROOF OF SERVICE OF DOCUMENT
 1
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
 2   is:

 3                                            550 S. Hope Street, Suite 1765
                                              Los Angeles, California 90071
 4
     A true and correct copy of the foregoing document entitled (specify): Notice
                                                                            Of Motion And Motion Of
 5   Dinsmore & Shohl LLP To Withdraw As Counsel For Erika Girardi; Declaration Of Peter J.
     Mastan In Support Thereof will be served or was served (a) on the judge in chambers in the form and
 6   manner required by LBR 5005-2(d); and (b) in the manner stated below:

 7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
     General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
 8   document. On June 15, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
     and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
 9   the email addresses stated below:

10
                                                                  Service information continued on attached page
11
     2. SERVED BY UNITED STATES MAIL:
     On June 15, 2021 I served the following persons and/or entities at the last known addresses in this bankruptcy
12
     case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
     States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
13   declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
14
                                                                  Service information continued on attached page
15
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
16   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
     June 15, 2021, I served the following persons and/or entities by personal delivery, overnight mail service, or
17   (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
     Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
18   completed no later than 24 hours after the document is filed.

19
                                                                  Service information continued on attached page
20
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
21
         6/15/21 Katrice Ortiz                                    /s/ Katrice Ortiz
22       Date                      Printed Name                   Signature

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                                     In re THOMAS VINCENT GIRARDI
 1                                         Case No. 2:20-bk-21020-BR
                                      U.S.B.C. Central District of California
 2                                            Los Angeles Division

 3
     1.          SERVED VIA NOTICE OF ELECTRONIC FILING (NEF):
 4
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 7
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 8               Ori@MarguliesFaithLaw.com,
                 Helen@MarguliesFaithLaw.com;Angela@MarguliesFaithLaw.com;Vicky@MarguliesFaith
 9               Law.com

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14               Law.com

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 9          rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfir

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 4          Eric A Mitnick on behalf of Interested Party Courtesy NEF
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 8          ctp@lnbyb.com

 9          Carmela Pagay on behalf of Trustee Jason M Rund (TR)
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10
            Ambrish B Patel on behalf of Creditor Ally Bank Lease Trust - Assignor to Vehicle Asset
11          Universal Leasing Trust (a.k.a. "VAULT TRUST", or "V.A.U.L. Trust", or "VAULT", or
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14   2.          SERVED BY UNITED STATES MAIL:

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21   3.          SERVED BY PERSONAL DELIVERY:

22               U.S. Bankruptcy Court:
                 U.S. Bankruptcy Court
23               Hon. Hon. Barry Russell
                 255 E. Temple Street, Suite 1660
24               Los Angeles, CA 90012

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